947 F.2d 949
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Shawn E. FRENCH, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 91-35007.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Oct. 9, 1991.Decided Nov. 8, 1991.
    
      Before WALLACE, Chief Judge, HUG and RYMER, Circuit Judges.
    
    ORDER
    
      1
      We affirm the district court and adopt the opinion and order of the district court dated September 27, 1990.
    
    
      2
      AFFIRMED.
    
    